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 1                                                                    The Honorable David W. Christel

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 7                                    UNITED STATES DISTRICT COURT
 8                                   WESTERN DISTRICT OF WASHINGTON
 9                                             AT TACOMA
10
     CARLA SHORT, individually and as                    Civil Action No. 2:19-cv-01270-DWC
11   Administrator of the Estate of DONALD J.
     SHORT,                                              STIPULATION AND ORDER OF
12
                                                         DISMISSAL OF DEFENDANT UNION
13                      Plaintiff,                       CARBIDE CORPORATION

14             vs.
15   AIR & LIQUID SYSTEMS CORPORATION,
     as Successor by Merger to BUFFALO
16
     PUMPS, INC.; et al.
17
                        Defendants.
18

19
              Plaintiff Carla Short, Individually and as Administrator of the Estate of Donald J. Short,
20
     and Defendant Union Carbide Corporation, hereby stipulate to the entry of the following Order
21
     of Dismissal without further notice, with prejudice and without costs or attorney’s fees to either
22
     party, reserving to Plaintiff all of Plaintiff’s rights of action, claims, and demands against any
23
     and all other parties.
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              ///
     STIPULATION AND ORDER OF DISMISSAL OF DEFENDANT UNION             LEWIS BRISBOIS BISGAARD & SMITH LLP
     CARBIDE CORPORATION - 1                                                 1111 Third Avenue, Suite 2700
     USDC WD WA CAUSE NO. 2:19-cv-01270-RBL                                    Seattle, Washington 98101
                                                                                      206.436.2020
     4832-5474-2468.1
                Case 2:19-cv-01270-MJP Document 132 Filed 09/25/20 Page 2 of 5




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 3   DATED this 27th day of July, 2020.                 DATED this 27th day of July, 2020.

 4
     BERGMAN DRAPER OSLUND UDO, PLLC                   LEWIS BRISBOIS BISGAARD & SMITH
 5                                                     LLP
 6
     By: /s/ Glenn S. Draper                           By: /s/ Rachel Tallon Reynolds
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11                                                     Attorneys for Defendant Union Carbide
                                                       Corporation
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     STIPULATION AND ORDER OF DISMISSAL OF DEFENDANT UNION            LEWIS BRISBOIS BISGAARD & SMITH LLP
     CARBIDE CORPORATION - 2                                                1111 Third Avenue, Suite 2700
     USDC WD WA CAUSE NO. 2:19-cv-01270-RBL                                   Seattle, Washington 98101
                                                                                     206.436.2020
     4832-5474-2468.1
                Case 2:19-cv-01270-MJP Document 132 Filed 09/25/20 Page 3 of 5




 1
                                        ORDER OF DISMISSAL
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 3            THIS MATTER having come on regularly for hearing before this Court upon the
 4   foregoing Stipulation, and the Court being fully advised in the premises.
 5            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
 6   Plaintiff’s claims against Defendant Union Carbide Corporation, are dismissed in their entirety
 7   with prejudice and without fees or costs to either party, reserving to Plaintiff all of Plaintiff’s
 8   rights of actions, claims, and demands against any and all other parties.
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11            DATED this 25th day of September, 2020.
12

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14
                                                             __________________________________
15                                                           Marsha J. Pechman
16                                                           United States Senior District Court Judge

17   PRESENTED BY:

18   LEWIS BRISBOIS BISGAARD & SMITH LLP
19   By: /s/ Rachel Tallon Reynolds
20   Rachel Tallon Reynolds, WSBA #38750
     George S. Pitcher, WSBA #27713
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     Attorneys for Defendant Union Carbide Corporation
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     APPROVED AS TO FORM AND CONTENT BY:
23

24   BERGMAN DRAPER OSLUND UDO, PLLC

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     Glenn S. Draper, WSBA #24419
26   Email: service@bergmanlegal.com
     Attorneys for Plaintiff
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     STIPULATION AND ORDER OF DISMISSAL OF DEFENDANT UNION               LEWIS BRISBOIS BISGAARD & SMITH LLP
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     USDC WD WA CAUSE NO. 2:19-cv-01270-RBL                                      Seattle, Washington 98101
                                                                                        206.436.2020
     4832-5474-2468.1
                Case 2:19-cv-01270-MJP Document 132 Filed 09/25/20 Page 4 of 5




 1
                                       DECLARATION OF SERVICE
 2
              I hereby declare under penalty of perjury under the laws of the State of Washington that
 3
     I caused a true and correct copy of the foregoing to be served via email, per agreement of
 4
     counsel, on July 27, 2020 on the following counsel/party of record:
 5
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                Case 2:19-cv-01270-MJP Document 132 Filed 09/25/20 Page 5 of 5




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 6                                               s/ Elizabeth Pina
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     DECLARATION OF SERVICE - 2                             LEWIS BRISBOIS BISGAARD & SMITH LLP
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